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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :
                                               :
TAM DINH PHAM ,                                :      Case No. 1:21-CR-109 (TJK)
                                               :
                        Defendant.             :
                                               :

    MEMORANDUM BY THE UNITED STATES IN SUPPORT OF GUILTY PLEA

         Pursuant to a written plea agreement dated July 23, 2021, and signed by defendant Tam

Pham (the “Defendant”) on September 7, 2021, Defendant agreed to plead guilty to Count Four of

the Information (Doc. 3), which charges him with Parading, Demonstrating, or Picketing in a

Capitol Building, in violation of Title 40, United States Code, Section 5104(e)(2)(G).

   I.       Elements of the Offense

         To prove that the Defendant is guilty of Parading, Demonstrating, or Picketing in a Capitol

Building, the government must prove the following beyond a reasonable doubt:

         a. That the Defendant paraded, demonstrated, or picketed;

         b. That the Defendant did so in any of the Capitol Buildings; and

         c. That the Defendant did so willfully and knowingly.

   II.      Maximum Penalties

         The maximum penalties for Parading, Demonstrating, or Picketing in a Capitol Building,

in violation of Title 40, United States Code, Section 5104(e)(2)(G), are:

         a. a term of imprisonment not more than 6 months;

         b. a fine not to exceed $5,000; and

         c. a special assessment of $10.
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   III.      No Right to Trial by Jury for Petty Offenses

          A violation of Title 40, United States Code, Section 5104(e)(2)(G) is a class B

misdemeanor, as defined by Title 18, United States Code, Section 3559(a)(7).              Class B

misdemeanors are “petty offenses” pursuant to Title 18 United States Code, Section 19.

Accordingly, they do not carry a right to trial by jury. See Fed. R. Crim. P. 58(b)(2)(F); Lewis v.

United States, 518 U.S. 322, 330 (1996) (no right to jury trial for petty offenses).

   IV.       Sentencing Guidelines

          Because the applicable violation is a class B misdemeanor, pursuant to § 1B1.9 of the

United States Sentencing Commission, Guidelines Manual (2018), the Sentencing Guidelines do

not apply to this violation.



          Respectfully submitted this 13th day of September, 2021.



                                                      /s/ Alison B. Prout
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